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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


 MOE'S FRANCHISOR LLC,
                       Plaintiff,                      CIVIL ACTION FILE
 vs.                                                   NO. 1:15-cv-3504-MHC
 TAYLOR INVESTMENT PARTNERS, II,
 LLC; TIP-II-ANSLEY, LLC; AND TIP
 II-SUBURBAN, LLC,
                       Defendants.



                                     JUDGMENT

       This action having come before the court, Honorable Mark H. Cohen, United States

District Judge, for consideration of defendants‘ Motion to Dismiss, and the court having

granted said motion, it is

       Ordered and Adjudged that the plaintiff take nothing; that the defendants recover their

costs of this action, and the action be, and the same hereby, is dismissed.

       Dated at Atlanta, Georgia, this 3rd day of November, 2016.



                                                         JAMES N. HATTEN
                                                         CLERK OF COURT


                                                    By: s/Jill Ayers
                                                        Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
  November 3, 2016
James N. Hatten
Clerk of Court

By:    s/Jill Ayers
        Deputy Clerk
